        Case 3:17-cv-00072-NKM-JCH Document 92 Filed 11/10/17 Page 1 of 1 Pageid#: 363
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Western District
                                                  __________ DistrictofofVirginia
                                                                          __________


                    Elizabeth Sines, et. al.,                     )
                             Plaintiff                            )
                                v.                                )      Case No.   3:17-cv-00072-NKM
                    Jason Kessler, et. al.,                       )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Michael Hill, Michael Tubbs, League of the South                                                                    .


Date:          11/10/2017                                                                    /s/ Bryan Jones
                                                                                            Attorney’s signature


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